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 6
     Attorneys for John Beach, Trustee of the
 7   Beach Living Trust dated January 22, 1999

 8                            UNITED STATES BANKRUPTCY COURT

 9                                      DISTRICT OF NEVADA

10    In re:                                                  Case No.: BK-N-14-50333-btb
                                                              Chapter: 11
11    ANTHONY THOMAS and WENDI THOMAS
                                                              [Lead Case – Jointly Administered]
12
            Affects AT EMERALD, LLC                          Case No.: BK-N-14-50331-btb
13          Affects all Debtors                              Chapter: 11

14                                                            DECLARATION OF JOSEPH G.
                                                              WENT, ESQ. IN SUPPORT OF
15                                                            APPLICATION FOR HEARING ON
                                                              ORDER SHORTENING TIME
                                                              REGARDING MOTION TO
16                                                            COMPEL PRODUCTION OF
                                                              REQUIRED KEY OR AUTHORIZE
17                                                            DRILL OUT OF VAULT LOCK
18                                                         Hearing Date: OST REQUESTED
19                                                            Hearing Time: OST REQUESTED
20
               I, JOSEPH G. WENT, ESQ., do hereby declare:
21
               1.    I am counsel for John Beach (“Beach”), as trustee of the Beach Living Trust dated
22
     January 22, 1999 (the “Beach Trust”).
23
               2.    I have knowledge and am competent to testify concerning the facts set forth
24
     herein.
25
               3.    I make this declaration in support of the Motion to Compel Production of
26
     Required Key or Authorize Drill Out of Vault Lock (the “Motion”).
27
               4.    The Beach Trust’s claim concerns that certain Promissory Note Secured by
28
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 1   Pledge and Security Agreement (the “Note”) whereby Debtor promised to pay to the Beach Trust

 2   the original principal sum of $500,000.00, together with all accrued interest, fees, and costs due

 3   thereunder.

 4           5.       The Beach Trust’s claim herein also concerns that Pledge and Security Agreement

 5   (the “Security Agreement”) wherein the Debtor granted to the Beach Trust a security interest in

 6   that certain 23 kilogram black schist stone including a green crystal beryl (natural emerald) of

 7   approximately 22,500 carats, which stone is commonly known as the “Thomas Emerald.”

 8           6.       The Thomas Emerald is described on Debtor’s Schedule B on file herein.

 9           7.       The Thomas Emerald is currently held at the Sarasota Vault, 640 South

10   Washington Blvd., Suite 125, Sarasota, Florida, 34236 (“Sarasota Vault”).

11           8.       On March 4, 2014, Debtor filed its voluntary chapter 11 petition herein (the

12   “Petition Date”).

13           9.       On June 24, 2014, the Beach Trust obtained authority pursuant to FRBP 2004 to

14   examine the person most knowledgeable of the Sarasota Vault, including access to and

15   inspection of the Thomas Emerald. See Dkt. 93.

16           10.      The 2004 examination of the person most knowledgeable of the Sarasota Vault,

17   including access to and inspection of the Thomas Emerald, was originally scheduled to occur on

18   July 10, 2014.

19           11.      On July 2, 2014, the Beach Trust received a letter from counsel for the Sarasota

20   Vault. A true and correct copy of the July 2, 2014 letter is attached to the Motion as Exhibit 1

21   and incorporated herein by reference. The July 2, 2014 letter sets forth the following points:

22                    a.     Access to the subject box at the Sarasota Vault is controlled by a two-key

23   system, where one key is controlled by Debtor; and

24                    b.     Without the second key, the only way that the subject box could be opened

25   is for a locksmith to drill the locks and replace them at the conclusion of the examination, for a

26   fee of approximately $200.00. Id.

27           12.      On June 23, 2014, Debtor filed its Motion to Sell Assets Free and Clear of Liens

28   and Motion to File Purchase and Sale Agreement under Seal (the “Motion to Sell”). Dkt. 40.
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 1           13.    The hearing on the Motion to Sell has been continued to July 21, 2014. Dkt. 114.

 2           14.    On July 3, 2014, counsel for the Beach Trust communicated with counsel for the

 3   Debtor on whether the Debtor planned to provide the second key to access the vault and inspect

 4   the Thomas Emerald.

 5           15.    To date, Debtor has not provided the necessary key to access the vault or

 6   indicated that Debtor would do so. Instead, Debtor’s counsel indicated that only after the Motion

 7   to Sell is heard on July 21, 2014, would Debtor consider the request to provide the second key

 8   necessary to open the vault and inspect the Thomas Emerald.

 9           16.    On July 9, 2014, the Beach Trust filed a notice of continuing the examination of

10   the person most knowledgeable of the Sarasota Vault to August 5, 2014. See Dkt. 115.

11           17.    Concurrently herewith, the Beach Trust intends to further continue the

12   examination of the person most knowledgeable of the Sarasota Vault to August 12, 2014.

13           I declare under penalty of perjury that the foregoing is true and correct to the best of my

14   knowledge, information, and belief.

15           EXECUTED this 17th day of July, 2014 in Clark County, Nevada.

16

17                                                   /s/ Joseph G. Went           .
                                                  Joseph G. Went, Esq.
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